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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                    CRIMINAL ACTION

VERSUS                                                      NO: 15-152

JOHN TEAL                                                   SECTION: “J”(1)
BEVERLEY STUBBLEFIELD


                                ORDER AND REASONS

     Before      the    Court     is     the     Government’s       Appeal     of      the

Magistrate’s Order Relating to Defendants’ Motion for a Bill of

Particulars (Rec. Doc. 81) filed by the United States of America

and an opposition thereto (Rec. Doc. 89) filed by Defendants John

Teal and Beverly Stubblefield. Having considered the motion and

legal memoranda, the record, and the applicable law, the Court

finds that the Government’s appeal should be DENIED.

                       FACTS AND PROCEDURAL BACKGROUND

     On June 11, 2015, the Government filed a sealed indictment

charging    Rodney      Hesson,        Psy.D.,    and     Gertrude       Parker     with

conspiracy to commit health care fraud and conspiracy to make false

statements related to health care matters. On October 22, the

Government filed a superseding indictment charging John Teal and

Beverley Stubblefield with the same offenses. (Rec. Doc. 36.) Teal

and Stubblefield filed a Motion for a Bill of Particulars seeking,

inter    alia,    the    identities       of     other     known    co-conspirators



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mentioned   in   the   superseding       indictment.    (Rec.     Doc.    76.)

Magistrate Judge Shushan ordered the Government to disclose the

identities of the co-conspirators. (Rec. Doc. 80.) The Government

appealed this order on December 4, 2015. (Rec. Doc. 81.)

                    LEGAL STANDARD AND DISCUSSION

     A district court reviewing a magistrate judge’s discovery

order may modify or set aside the order if it finds the order to

be “clearly erroneous or contrary to law.” Fed. R. Civ. P. 72(a).

“Under this highly deferential standard, the court will reverse

only when ‘on the entire evidence [it] is left with a definite and

firm conviction that a mistake has been committed.’” Lazard v.

Gusman, No. 14-2860, 2015 WL 5882984, at *1 (E.D. La. Oct. 8, 2015)

(quoting United States v. U.S. Gypsum Co., 333 U.S. 364, 395

(1948)). With this in mind, the Court turns to the substantive law

underlying the Government’s appeal.

     Rule 7(f) of the Federal Rules of Criminal Procedure provides,

“The court may direct the government to file a bill of particulars.

The defendant may move for a bill of particulars before or within

[fourteen] days after arraignment or at a later time if the court

permits. The government may amend a bill of particulars subject to

such conditions as justice requires.” The purpose of a bill of

particulars is to “inform[] a defendant of the nature of the

charges against him so that he will have sufficient detail to

prepare for this defense, to avoid or minimize the danger of

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surprise at trial, and to enable him to plead double jeopardy in

the event of a subsequent prosecution for the same offense.” United

States v. Murray, 527 F.2d 401, 411 (5th Cir. 1976).

     Courts   of   this   district   have     generally   found    that       the

Government should disclose the identities of all unindicted co-

conspirators. See United States v. Nides, No. 14-40, 2014 WL

2894281, at *4 (E.D. La. June 26, 2014); United States v. Scheur,

No. 07-169, 2008 WL 490339, at *2 (E.D La. Feb. 20, 2008); United

States v. Epsy, No. 96-198, 1996 WL 637759, at *1 (E.D. La. Nov.

4, 1996). Thus, the Magistrate Judge’s order was not clearly

erroneous or contrary to law.

                                CONCLUSION

     Accordingly,

     IT IS HEREBY ORDERED that the Government’s appeal is DENIED.

     New Orleans, Louisiana this 21st day of December, 2015.




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                                  CARL J. BARBIER
                                  UNITED STATES DISTRICT JUDGE




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